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UNITED STATES BANKRUPTCY COURT
SOU'I`I'IERN DISTRICT OF TEXAS

HoUsToN DivisioN
iN RE: §
§
BENDCO, INC. § CASE No. 18-30849
DEBToR § (Chapier ii)
§

DEBTOR’S RESPONSE '1`0 OMNIPOTECH LTD’S
MOTION FOR RELIEF FROM 'I`I-IE STAY
REGARDING NON-EXEMPT PROPERTY
rI`O THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:
Coines now, BENDCO, INC., Debtoi‘ (tlie “Debtoi"’) and files tliis Response to the l\/Iotion
Foi' Relieft`i'oni tlie Stay Regai‘ding Non-Exeinpt Propei‘ty (the “Motion”) filed by Oinnipotecli, Ltd.
(tlie “Movant”), and in support thei‘eof, Would respectfully show this Coni‘t as follows:
I.
Debtci' admits the allegations contained in Pai'agi'aph l of Movant’s Mction.
II.
Debtoi' admits the allegations contained in Pai‘agi‘apli ll of Movant’s Motion.
III.
Debtoi' is Witliout sufficient information to either admit or deny tlie allegations contained in
Pai'agrapli Ill of l\/Iovant’s Motion. Tliei‘efoi'e, for pleading piii‘poses, those allegations are denied.
IV.

Debtoi‘ is Witliont sufficient information to either admit or deny the allegations contained in

Pai'agi'apli lV of Movant’s Motion. Tliei'efoi'e, for pleading purposes, those allegations ai'e denied.

 

 

 

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V.
Debtor is Without sufficient information to either admit or deny the allegations contained in
Paragi'aph V of Movant’s l\/lotion. Therefore, for pleading purposes, those allegations are denied.
Vl.
Debtoi‘ admits the allegations contained in Paragraph VI of l\/lovant’s Motion.
Vll.

Debtor admits the allegations contained in Paragraph Vll of Movant’s l\/lotion.
Vlll.

Debtor admits the allegations contained in Paragraph Vlll of l\/Iovant’s Motion.
iX.

Debtor is Without sufficient information to either admit or deny the allegations contained in
Paragraph IX of Movant’s l\/lotion. Tliei'efoi‘e, for pleading purposes, those allegations are denied
X.

a. Debtor is Without sufficient information to either admit or deny the allegations
contained in Paragraph X(a) of l\/Iovant’s Motioii. Therefore, for pleading purposes, those
allegations are denied.

b. Dehtor is Witliout sufficient information to either admit or deny the allegations
contained in Paragraph X(b) of Movant’s l\/lotion. Tlierefore, for pleading purposes, those
allegations are denied

XI.
Debtor admits the allegations contained in Paragi'apli Xl of Movant’s l\/[otion. F or further

answer, until the personal property is replaced, it is necessary to the Debtor’s operations

 

 

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Xll.

a. Debtor is without sufficient information to either admit or deny the allegations
contained in Paragi'aph Xll(a) of Movant’s Motion. Therefore, for pleading purposes, those
allegations are denied

b. Debtor is Without sufficient information to either admit or deny the allegations
contained in Paragrapli Xll(b) of Moyant’s l\/lotion. Therefore, for pleading purposes, those
allegations are denied.

Xlll.

a. Debtor is Without sufficient information to either admit or deny the allegations
contained in Paragraph Xlll(a) of l\/lovant’s Motion. Tliei'efore, for pleading purposes, those
allegations are denied

b. Debtor is Without sufficient information to either admit or deny the allegations
contained in Paragraph Xlll(h) of Movant’s Motion. Tlierefore, for pleading purposes, those
allegations are denicd.

XlV.
Debtor admits the allegations contained in Paragraph XIV of l\/lovant’s Motion.
XV.
Debtor is Witliout sufficient information to either admit or deny the allegations contained in

Paragrapli XV ofl\/lovant’s Motion. Therefore, for pleading purposes, those allegations are denied.

 

 

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XVI.

Debtor denies the allegations contained in the first sentence of Pai'agraph XVI of l\/lovant’s
Mction.

a. Debtor admits the allegations contained in the first and second sentences of Paragraph
XVl(a) of l\/Iovant’s l\/lotioii. Debtor is Without sufficient information to either admit or deny the
allegations contained in the third sentence of Paragraph XVl(a) of l\/Iovant’s l\/lotion. Theref`ore,
for pleading pui'poses, those allegations are denied. Debtcr admits the allegations contained in the
fourth sentence ofl)aragrapli XVl(a) of l\/Iovant’s l\/iotion. Debtor denies the allegations contained
in the fifth sentence of Paragraph XVI(a) of l\/lovant’s l\/[otion.

h. Debtor denies the allegations contained in Paragraph XVl(b) of l\/lovant’s Motion.

XVIl.
Debtor denies the allegations contained in Paragraph XVII of Movant’s Motion.
XVIll.

Debtor admits the allegations contained in Paragraph XVlll of Movant’s Motion.

WHEREFORE, PREMISES CONSIDERED, Debtor prays that l\/loyant’ s Motion for Relief
from the Stay be denied, that l\/lovant take notliing; and for such other and further relief to Which he

may be justly entitled.

 

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Dated: May 23, 2018

BY:

Respectfully submitted,

FUQUA & ASSOCIATES, PC

/s/ Richcird L. Fiicriia
Richard L. Fuqua
State Bar No. 07552300
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l-louston, TX 77056
(713) 960-0277
(713) 960~1064 facsimile
Eniail: rlfuoua@fuoualeizal.com

COUNSEL FOR DEBTOR

CERTIFICATE ()F CONFERENCE

 

l hereby certify that l have previously contacted Mynde Eisen, l\/lovant’s counsel, in a good
faith attempt to resolve the dispute Wliich is the subject of Movant’ s l\/lotioii. At this time, settlement

is possible‘, liowever, a hearing Wili he necessary.

/s/ Richm'd L. Fiiaira
Richard L. Fuqua

 

 

 

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CER'I`IFICATE OF SERVICE

 

This is to certify that on May 23, 2018, a copy of the above and foregoing instrument Was
forwarded by U.S. mail, first class postage prepaid to the parties listed beiow', and via ECF to all
parties registered to received notice through the Court’s ECF System.

Mynde Eisen, Esq.
6546 Greatwood Parkway, Suite C
Sugar Land, Texas 77479

United States Trustee
515 Rusl< Ave., Suite 3516
Houston, 'i`exas 77002

/Is'/ Richard L. Fiiqiia
Richard L. Fuqua

 

 

